Case 2:10-cv-08888-CJB-JCW Document 79343 Filed 04/20/11 Page 1of5

IN RE: OIL SPILL by “Deepwater Horizon” “***;,..

DIRECT FILING SHORT FORM’

‘ > Be Me,
Authorized by Order of the Court, Civil Action No. 10 md 2179 Rec. Doc. 982) “One
' (Copies of said Order having also been filed in Civil Actions No. 10-8888' and 10-277)

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Last Name : First Name

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INDIVIDUAL CLAIM

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City / State / Zip

Claim filed with BP?

If yes, BP Claim No.:

Earmings/Profit Loss

Damage or destruction to real or personal property
Personal Injury/Death

wom AS ABove

City / State / Zip

- BUSINESS CLAIM

 BusinessName

Type of Business

k | Middle Name/Maiden

Brewster
meen Suimlast @ Yahoo

Address

City/State/Zip

NO & €.¢ Claim Filed with GCCF?: YES FJ

‘Last 4 digits of your Social Security Number _ Giga "| Last 4digits of your Tax iD Number
Attorney Name | Firm Name
“Maggy Gin i giateaig

if yes, Claimant identification No.:

Fear of Future Injury and/or Medical Monitoring
Loss of Subsistence use of Natural Resources

Claim Type (Please check all that apply):

Removal and/or clean-up costs {

Other:

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1 This form should be filed with the U.S. District Court for the Eastern District of Louisiana, 500 Poydras Street, New Orleans, Loulsiana 70136, in Civil Action No.
10-8888. While this Direct Filing Short Form is to be filed in CA No. 10-8888, by prior order of the Court, (Rec. Doc. 246, CA, No. 10-2771 and Rec. Doc. 982 In MDE
2179}, the filing of this forma in CA. No. 10-8882 shall be deemed to be simultaneously filed in CA, 10-2771 and MOL 2179. Plaintiff tiaison Counsel, after being
notified electronically by the Clerk of Court of the filing of this Short Form, shall promptly serve this form through the Lexis Nexis service system on Defense Liaison.

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The filing of this Direct Fiing Short Fort shail also serve in Hau of the requirement of a Plaintiff to fila 2 Plaintiff Profile Form.

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Brief Description:

1. For eamings/profit loss, property damage and loss of subsistence use claims, describe the nature of the injury. For claims

involving real estate/property, include the property location, type of property (residentialicommercial), and whether physica!
damage occurred. For claims relating to fishing of any type, include the type and location of fishing grounds at issue.

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2. For personal injury claims, describe the injury, how and when it was sustained, and identify ail health care providers and
employers 2008 to present and complete authorization forms for each.

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3. For post-explosion claims related to clean-up or removal, include your role in the clean-up activities, the name of your

employer, and where you were working.

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Please check the box(es) below that you think apply to you and your claims:
Non-qovernmental Economic Loss and Property Damage Claims (Bundle B1

x 1. Commercial fisherman, shrimper, crabber, or oysterman, or the owner and operator of a business involving fish ing, shrimping,
crabbing or oystering.

Oo 2. Seafood processor, distributor, retail and seafood market, or restaurant owner and operator, or an employee thereof.

3, Recreational business owner, operator or worker, including a recreational fishing business, commercial guide service, or charter
fishing business who earn their living through the use of the Gulf of Mexico.

@ 4, Commercial business, business owner, operator or worker, including commercial divers, offshore oilfield service, repair and
supply, real estate agents, and supply companies, or an employee thereof.

a 5. Recreational sport fishermen, recreational diver, beachgoer, or recreational boater.
O 6. Plant and deck worker, including commercial seafood plant worker, (ongshoreman, or ferry operator.

i 7 Owner, lessor, or lesses of real propert y alleged te be damaged, harmed or impacted, physically or economically, including
lessees of oyster bads.

2 8. Hotel owner and operator, vacation rental owner and agent, or all those wha eam their living from the tourism industry.
(1 9. — Bank, financial institution, or retail business that suffered losses as a resuit of the spill.

Zz 40. Person who utllizes natural resources for subsistence. ‘
Mit. over Loss oF Life sivle & Combor’

Post-Explosion Persona! Injury, Medical Monitoring, and Property Damage Related to Cleanup (Bundie B3

(]1. Boat captain or crew invoived in the Vessels of Opportunity program.
(2. Worker invotved in decontaminating veasels that came into contact with oil and/or chemical! dispersants.

CI 3. Vessel captain or crew who was not involved in the Vessels of Opportunity program but wha were exposed to harmful chemicals,
odors and emissions during post-explosion clean-up activities.

oO 4. Clean-up worker or beach personnel involved in clean-up activities along shorelines and intercoastal and intertidal zones.

5. Resident who lives or works in close proximity to coas}! waters.

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Both BP and the Gulf Coast Claim s Facility CGCCF”) are hereby authorized to release to the Defend ants in MDL
2179 all information and documents submitted by above-named Plaintiff and information regarding the status of any
payment on the claim, subject to such information being treated as “Confidential Access Restricted’ under the Order
Protecting Confidentiality (Pre-Trial Order No. 14), and subject to full copies of same being made availabie to both
the Plaip# (or hig attomey if applicable) fiting this form and PSC through Plaintiff Liaison Counsel.

Clairhant or Attorney Signature

Erek Cac

Print Name

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